               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:10-00250
                                                 )      Judge Trauger
MATTHEW PAUL DEHART                              )

                                        ORDER

       The government’s Motion For Extension of Time to File Responses to Defendant’s

Pretrial Motions And to Reset Pretrial Motions Hearing (Docket No. 130) is GRANTED. It is

hereby ORDERED that the government shall respond to all pending motions by October 23,

2012. It is further ORDERED that the hearing on pending motions is RESET for Wednesday,

November 14, 2012, at 10:00 a.m.

       It is so ORDERED.

       ENTER this 22nd day of October 2012.


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                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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